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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA
                                              Case No. 1:18-cr-00258-BLW

        Plaintiff,                            MEMORANDUM DECISION
                                              AND ORDER RE:
         v.                                   GOVERNMENT’S MOTIONS TO
                                              EXCLUDE DEFENSE EXPERTS
 PAVEL BABICHENKO, PIOTR                      (DKTS. 1329, 1340)
 BABICHENKO, TIMOFEY
 BABICHENKO, KRISTINA
 BABICHENKO, DAVID BIBIKOV,
 ANNA IYERUSALIMETS, and
 MIKHAIL IYERUSALIMETS,

        Defendants.



                                INTRODUCTION

      The Defense has provided notice of intent to introduce expert testimony at

trial from three separate experts: Christopher Linscott on behalf of all Defendants

(Dkts. 1309, 1367); D. Nathanael Lining on behalf of Defendant Mikhail

Iyerusalimets (Dkt. 1318); and Anne M. Layne of behalf of Defendant David

Bibikov (Dkt. 1336). Before the Court is the Government’s motions to exclude

these Defense experts. (Dkts. 1329, 1340.) The Court will deny the Government’s

motions to the extent the Government seeks to exclude these witnesses, but will




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grant the motions to the extent the Government seeks additional disclosure of the

opinions/conclusions reached by Defense experts Lining and Layne.

                                     BACKGROUND

         Prior to the first trial, the Court issued pretrial orders setting out various

deadlines, including deadlines for the Defendants to identify and disclose their

expert witnesses, and for the disclosure of all expert-related discovery. (Dkts. 296,

536, 666.) Prior to the first trial, Defendants timely disclosed financial expert Eric

Lee (Dkts. 401, 736) and Mr. Lee testified on behalf of Defendants during the first

trial.

         Since the first trial, the Court has issued additional pretrial orders relating to

deadlines for the second trial in this matter. Those orders did not address expert

witness disclosure deadlines for the second trial. (See Dkts. 1224, 1225, 1305.)

         On March 12, 2022, Defendants filed a notice of intent to introduce financial

expert testimony from Mr. Linscott (Dkt. 1309), and filed a supplemental notice

regarding Mr. Linscott on April 4, 2022 (Dkt. 1367). On March 14, 2022,

Defendant Mikhail Iyerusalimets filed a notice of intent to introduce expert

testimony from Mr. Lining (Dkt. 1318). On March 21, 2022, Defendant Bibikov

filed a notice of intent to introduce expert testimony from Ms. Layne. (Dkt. 1336.)




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                                     ANALYSIS

      The Government moves to exclude Defense experts Linscott, Lining, and

Layne, arguing (1) the expert notices for Linscott, Lining, and Layne are “two

years late,” and (2) the expert notices are insufficient.

      A. Timeliness

      The Government argues that Defendants’ expert disclosures regarding

Linscott, Lining, and Layne are almost two years late because the deadline for

disclosing expert witnesses was May 8, 2020, which was prior to the first trial.

This argument is specious. The pretrial deadlines that were set for the first trial are

clearly not applicable to the second trial. Further, although the Court did not set

expert disclosure deadlines for the second trial, this lack of deadlines was never

intended by the Court to preclude the Defense, or for that matter the Government,

from disclosing additional or different experts for purposes of the second trial. To

the contrary, the lack of specific expert disclosure deadlines appears to be the

result of oversight by both the Court and the parties.

      The Government makes much of the fact that the Defense disclosed these

experts only after the Court issued its decision regarding the Governments’ ability

to impeach Defense financial expert Eric Lee during the second trial. However, the

Court does not find the Defense’s approach of seeking to use additional or

alternative financial experts to be unreasonable, let alone a basis for excluding the


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additional/alternative experts disclosed by the Defense.

      The Court also notes that Defendants’ motion in limine regarding the

impeachment of Mr. Lee, filed on December 3, 2021, requested expedited ruling.

(Dkt. 1223.) Defendants explained that expedited ruling was needed because the

Court’s ruling would impact Defendants’ trial preparation “including whether they

must hire and prepare other financial experts for trial.” (Dkt. 1223 at 2.) Thus, the

Government was on notice in December 2021 that if the Court ruled in the

Government’s favor, the Defense was likely to use additional or alternative

financial experts for trial. The Court’s order denying the motion was not issued

until March 11, 2022, and the Defense shortly thereafter disclosed the three

additional financial experts (see Dkts. 1309, 1318, 1336). The Court finds the

timing of the Defense notices to be reasonable under the circumstances.

      The Government’s reliance on the February 16, 2022, discovery deadline set

forth in the Court’s March 10, 2022, pretrial order (Dkt. 1305) is also misplaced as

that deadline does not address expert disclosures. Further, although the

Government seeks to hold Defendants to the February 16, 2022, deadline, the

Government has itself not complied with that deadline. (See, e.g., Dkt. 1288

(declaration of Government expert Robert Pollock filed February 25, 2022); see

also Dkt. 1350 (setting forth discovery disclosed by the Government after the




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February 16, 2022, deadline, including 8,018 pages of text messages disclosed on

March 16, 2022).

      Finally, the Court notes that Defendants’ disclosures of the three experts

were made on or before the March 21, 2022, deadline for disclosure of witnesses.

Because there was not a separate expert witness disclosure deadline for the second

trial, the Court finds the Defense expert witness disclosures to be timely.

      B. Sufficiency of the Notices

      The Government also argues that Defendants’ expert notices regarding Mr.

Linscott, Mr. Lining, and Ms. Layne are insufficient under Federal Criminal Rule

16(b)(1)(C).

      Under Rule 16, a defendant must provide the government with reciprocal

expert witness disclosure of “a written summary of any testimony that the

defendant intends to use under Rules 702, 702, or 705 of the Federal Rules of

Evidence as evidence at trial . . . .” Fed. R. Crim. P. 16(b)(1)(C). “This summary

must describe the witness’s opinions, the bases and reasons for those opinions, and

the witness’s qualifications.” Id.

      1. Expert Linscott

      The initial notice of expert testimony for Mr. Linscott states:

      In 2019, Mr. Linscott first became familiar with the financial evidence
      in this matter. At that time, Eric Lee was an accountant in Mr.
      Linscott’s firm. Mr. Linscott worked with and assisted Mr. Lee as he


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      analyzed the financial evidence in the Babichenko case. Starting in
      2019, Mr. Linscott worked with Mr. Lee to develop an approach to
      the financial evidence. In 2020-2021, Mr. Linscott reviewed bank
      records, underlying accounts documents, corporate records, revenue
      detail and other information. This information included bank
      statements, bank signature cards, some emails, wire information,
      purchase documents and certain legal filings. Since being retained in
      January 2022, Mr. Linscott has reviewed Mr. Lee’s work.

      In preparation for his testimony Mr. Linscott refamiliarized himself
      with the work that had been done previously with his firm. Mr.
      Linscott also reviewed samples of bank records from 130 accounts,
      consisting of 96 business and 34 personal accounts, involving 66
      entities and more than 52,000 transactions.

      If called as a witness, Mr. Linscott will rebut the testimony of the
      Governments’ financial expert Linda Czemerys. His testimony may
      include testimony about: (1) use of multiple business entities, (2)
      parent and subsidiary entities, (3) common corporate business
      structures, (4) common related party business reimbursement
      practices, (5) use of contractors and commissioned sales people to
      expand businesses, (6) typical forms of business cash receipts and
      disbursements, (7) typical income statements for a
      telecommunications business, and (8) forensic tracing and analysis
      procedures.

(Dkt. 1309.)

      A supplemental notice explains:

      Mr. Linscott will testify about the business structures used by the
      Defendants for their multiple entities. Mr. Linscott will describe the
      structure of Limited Liability Companies and the structure of Limited
      Liability Companies in relation to other forms of corporate structures
      used in typical businesses. Mr. Linscott will opine that the business
      structures used by the Defendants are normal corporate structures.

      Mr. Linscott will also testify as to the nature and substance of
      transactions between entities that have common ownership, such as


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     parent and subsidiary companies. This will include the nature of
     financial transactions between entities with common ownership and/or
     control. Mr. Linscott will opine that the deposits and withdrawals
     associated with the Defendants’ accounts are typical of entities with
     retail and wholesale operations and for entities with common
     ownership and control.

     Mr. Linscott will testify as to the nature of the Defendants’ businesses
     including retail operations, wholesale operations, and the use of
     commissioned agents. Mr. Linscott will further describe various
     aspects of how retail and wholesale sales are made and the various
     avenues of sales methods that retailers and wholesalers use to sell their
     goods. Mr. Linscott will opine that the way the Defendants sell their
     products on a retail and wholesale basis and through the use of
     commissioned agents, is a typical way sales are made by
     companies selling products.

     Mr. Linscott will testify as to the analysis performed on various
     Defendants’ bank accounts including the number of accounts analyzed,
     the total deposits and withdrawals analyzed, and the nature of the
     deposits and withdrawals associated with the bank account analysis.
     Mr. Linscott will further testify as to the nature of income and
     expenses associated with the financial transactions for the Defendants
     and the industry in which they operate. This will include accounts such
     as revenues, cost of sales, gross margin, selling and general and
     administrative expenses and net income for the Defendants and the
     industry in general. Mr. Linscott will opine on the differences between
     deposits and income, and withdrawals and expenses. Mr. Linscott will
     further opine that the nature of the Defendants’ income and expenses
     are typical for the industry in which they operate and for retailers and
     wholesalers in general.

     As a Certified Fraud Examiner, Mr. Linscott will also opine on the
     standard of work performed in tracing related to forensic and litigation
     support engagements including relevancy, interpretation of data
     analyzed, and conclusions and opinions associated with data analysis.
     Mr. Linscott will also serve as a rebuttal expert related to any
     conclusions or opinions offered by the Government’s expert, Linda
     Czemerys.


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(Dkt. 1367 (footnote omitted).)1

      The Court finds the notice, combined with the supplemental notice, to be

sufficient under Rule 16(b)(1)(C).

      C. Expert Lining

      The notice of expert testimony for Mr. Lining states:

      Mr. Lining will be called as an expert to testify regarding Mikhail
      Iyerusalimets’ personal and business account information. Mr. Lining
      is expected to testify to all areas of Mr. Iyerusalimets’ financial
      accounts (business and personal), including the activity/transfer in his
      accounts, business transactions, expenses and account transfers,
      income and pertinent tax records during the timeframe at issue in this
      case (if any). In addition, Mr. Lining will describe the operation of
      Mr. Iyerusalimets’ businesses including, but not limited to, his
      analysis of the financial records reviewed in preparation of testimony.
      Mr. Lining will further testify about his knowledge and experience
      with accounting and business practices of small businesses (including
      Mr. Iyerusalimets’ business practices as evidenced by the records in
      this matter).

      In preparation for his testimony, Mr. Lining will conduct an analysis
      of financial records, including, but not limited to, tax returns, financial
      transactions, secretary of state records, Government reports and
      memorandums, previous testimony of Defense expert Eric Lee and
      Government expert Linda Czemerys, and other relevant documents
      provided by the Government in discovery.

(Dkt. 1318.)




      1
        Attached to the supplemental notice as Exhibit 1 is a description of the accounts
analyzed.



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      The Court finds this notice inadequate to fully comply with the

obligations imposed by Rule 16(b)(1)(C). Specifically, although the notice

sets forth the subject matter of the expected testimony, and the materials

reviewed in forming the opinions or conclusions, it does not set forth

Mr. Lining’s opinions or conclusions, and the bases and reasons for those

opinions/conclusions. See Fed. R. Crim. P. 16(b)(1)(C). The Court does not,

however, find the inadequacy of the notice to warrant exclusion of

Mr. Lining’s testimony. Instead, the Court will order Defendant

Iyerusalimets to file a supplemental notice that fully complies with Rule

16(b)(1)(C).

      D. Expert Layne

      The notice of expert testimony for Ms. Layne states:

      Ms. Layne will base her testimony on her education and experience
      and her review of relevant documents including financial records
      disclosed in discovery, business records and online sale records, the
      trial transcripts, trial exhibits, and analyses in government reports and
      memorandum. Ms. Layne may testify regarding the financial
      transactions related to Mr. Bibikov’s various businesses; the amount of
      funds received from online retailers, such as Amazon; and the amount
      of funds used by Mr. Bibikov to purchase his retail inventory.
      Additionally, Ms. Layne may provide various analyses regarding the
      profitability of Mr. Bibikov’s businesses and the business model in
      general. Ms. Layne may also provide testimony regarding the various
      records received in this case, including any opinions regarding the
      completeness of the data.

(Dkt. 1336.)


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      The Court finds this notice inadequate to fully comply with the

obligations imposed by Rule 16(b)(1)(C). Specifically, although the notice

sets forth the subject matter of the expected testimony, and the materials

reviewed in forming the opinions or conclusions, it does not set forth

Ms. Layne’s opinions or conclusions, and the bases and reasons for those

opinions/conclusions. See Fed. R. Crim. P. 16(b)(1)(C). The Court does not,

however, find the inadequacy of the notice to warrant exclusion of

Ms. Layne’s testimony. Instead, the Court will order Defendant Bibikov to

file a supplemental notice that fully complies with Rule 16(b)(1)(C).

                                      ORDER

      IT IS ORDERED that:

   1. The Government’s motion to exclude defense experts Christopher Linscott

      and D. Nathanael Lining (Dkt. 1329) is DENIED in part and GRANTED in

      part as follows:

         a. The Motion is DENIED in full in relation to Defense expert Linscott.

         b. The Motion is DENIED in part and GRANTED in part as to Defense

             expert Lining as follows:

                i. Defendant Mikhail Iyerusalimets shall file, no later than May 6,

                   2022, a supplemental notice regarding Defense expert Lining

                   that fully complies with Rule 16(b)(1)(C).


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              ii. Failure to file the supplemental notice as directed may result in

                 the Court’s exclusion of Mr. Lining’s testimony.

             iii. The motion is otherwise DENIED.

  2. The Government’s motion to exclude defense expert Anne M. Layne (Dkt.

     1340) is DENIED in part and GRANTED in part as follows:

        a. Defendant David Bibikov shall file, no later than May 6, 2022, a

           supplemental notice regarding Defense expert Layne that fully

           complies with Rule 16(b)(1)(C).

        b. Failure to file the supplemental notice as directed may result in the

           Court’s exclusion of Ms. Layne’s testimony.

        c. The motion is otherwise DENIED.



                                            DATED: May 2, 2022


                                            _________________________
                                            B. Lynn Winmill
                                            U.S. District Court Judge




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